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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   AMARIN PHARMA, INC., AMARIN
   PHARMACEUTICALS IRELAND
   LIMITED, MOCHIDA
   PHARMACEUTICAL CO., LTD.,

                  Plaintiffs,

          v.                                                  C.A. No. 20-1630-RGA-JLH

   HIKMA PHARMACEUTICALS USA INC.,
   HIKMA PHARMACEUTICALS PLC, AND
   HEALTH NET, LLC,

                  Defendants.


     STIPULATION AND [PROPOSED] ORDER TO AMEND SCHEDULING ORDER

         WHEREAS the Court issued a Scheduling Order on May 4, 2021 (D.I. 50);

         WHEREAS the Court amended the Scheduling Order on May 13, 2022 (D.I. 112),

  ordering that document production shall be substantially completed on or before July 5, 2022;

         WHEREAS the parties agree to extend the deadline for document production to be

  substantially complete on or before August 2, 2022;

         WHEREAS the parties agree to extend other deadlines in the Scheduling Order to

  accommodate the extended deadline for document production to be substantially complete

  without altering the date of trial, currently set to begin on October 30, 2023;

         IT IS HEREBY STIPULATED AND AGREED by and among counsel for the parties,

  and subject to the approval of the Court, that the Scheduling Order (D.I. 50) be amended as set

  forth below:




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              Event                 Original Date          Amended Date

   Substantial Completion of         July 5, 2022           August 2, 2022
   Document Production
   Final Infringement               July 15, 2022          August 12, 2022
   Contentions
                                    August 5, 2022        September 2, 2022
   Final Invalidity Contentions
                                   August 18, 2022        September 15, 2022
   Discovery Cutoff
                                  September 19, 2022       October 17, 2022
   Opening Expert Reports
                                   October 19, 2022       November 16, 2022
   Rebuttal Expert Reports
                                  November 16, 2022       December 14, 2022
   Reply Expert Reports
   Completion of Expert           December 16, 2022        January 27, 2023
   Discovery




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  Date: June 30, 2022

   FISH & RICHARDSON P.C.                   PHILLIPS, MCLAUGHLIN & HALL, P.A.

   By: /s/ Robert M. Oakes                  By: /s/ John C. Phillips, Jr.
      Jeremy D. Anderson (No. 4515)            John C. Phillips, Jr. (No. 110)
      Robert M. Oakes (No. 5217)               David A. Bilson (No. 4986)
      222 Delaware Ave, 17th Floor             1200 N. Broom St.
      Wilmington, DE 19801                     Wilmington, DE 19806
      302-652-5070                             302-655-4200
      janderson@fr.com; oakes@fr.com           jcp@pmhdelaw.com
      Elizabeth M. Flanagan (No. 5891)         dab@pmhdelaw.com
      Michael Kane
      Deanna J. Reichel                          Don J. Mizerk
      FISH & RICHARDSON P.C.                     HUSCH BLACKWELL LLP
      60 South Sixth Street, #3200               120 South Riverside Plaza, Suite 2200
      Minneapolis, MN 55402                      Chicago, IL 60606
      (612) 335-5070                             (312) 655-1500
      eflanagan@fr.com, kane@fr.com
      reichel@fr.com                             Dustin L. Taylor
                                                 HUSCH BLACKWELL LLP
      Jonathan E. Singer                         1801 Wewatta Street, Suite 1000
      FISH & RICHARDSON P.C.                     Denver, CO 80202
      12860 El Camino Real, Suite 400            (303) 749-7200
      San Diego, CA 92130
      (858) 678-5070
      singer@fr.com

   COUNSEL FOR PLAINTIFFS                       COUNSEL FOR DEFENDANT
   AMARIN PHARMA, INC., AMARIN                  HEALTH NET, LLC
   PHARMACEUTICALS IRELAND
   LIMITED, AND MOCHIDA
   PHARMACEUTICAL CO., LTD.




  SO ORDERED, this ____________ day of ________________________, 2022




                                         United States District Court Judge




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